       24-11544-cgb
             Case 1:25-cv-00025-DII
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                 24-11544 Jetall Companies, Debtor, Involuntary Chapter 11
                                  List of Parties to Notice of Appeal

             Notice of Appeal – CM/ECF Doc #7 – Filed on behalf of Debtor Jetall
                                       Companies
Appellant:

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Appellee:

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        dba PopLabs                                          KELL C. MERCER, P.C.
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Interested Party:

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